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                                                           April 28, 2022

  Via EEOC Respondent Portal
  Jose Delarosa, Investigator
  U. S. Equal Employment Opportunity Commission
  Miami District Office – Miami Tower
  100 S.E. 2nd Street, Suite 1500
  Miami, FL 33131

             Re: Jenna Clark v. Lee County Sheriff’s Office
                 EEOC Charge No. 510-2022-01352
                 [5000.1247 ANB 45(T)]

  Dear Investigator Delarosa:

          On or about November 16, 2021, Jenna Clark (hereinafter “Charging Party” or “Clark”)
  filed a Charge of Discrimination (the “Charge”) against the Lee County Sheriff’s Office
  (hereinafter “Respondent” or “LCSO”), alleging that she was subjected to unlawful discrimination,
  hostile work environment, and retaliation in violation of the Civil Rights Act of 1964, as amended
  (“Title VII”), the Age Discrimination in Employment Act of 1967, as amended (“ADEA”), and
  the Florida Civil Rights Act (“FCRA”). 1




  1
   Of note, Clark also asserts in her Charge that Respondent violated her rights under the Family and Medical
  Leave Act (“FMLA”), an allegation which Respondent denies. Such allegations will not be addressed
  further herein, since the EEOC has no enforcement responsibility for Clark’s asserted FMLA claims. See
  Boler v. Golden Living Ctr. Kennestone, No. 1:19-cv-1483-LMM-WEJ, 2019 WL 3519002, at *2 (N.D.
  Ga. June 10, 2019) (stating that “the EEOC is not responsible for enforcing the FMLA”).


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          The Respondent denies that it engaged in any unlawful discrimination or retaliation against
  the Charging Party as alleged in her Charge and submits this Position Statement and referenced
  exhibits to address her allegations. 2

  I.        Factual Background

          The LCSO, currently led by Sheriff Carmine Marceno, is an equal opportunity employer
  and maintains written policies prohibiting discrimination or harassment on the basis of race, creed,
  color, religion, national origin, age, sex, sexual orientation, marital status, political affiliation, or
  physical or mental handicap. The relevant portions of the LCSO’s Operations Manual are attached
  as Composite Exhibit 1.

          Clark commenced her employment with the LCSO on June 5, 1992 as a Financial
  Assistant. (Exhibit 2). Throughout her tenure with the LCSO, Clark held various civilian positions
  within the Support Services Bureau, until 2012 when she was promoted by former Sheriff Michael
  Scott to the position of Director of Purchasing. (Exhibit 3). As the Director of Purchasing, Clark
  reported directly to Annmarie Reno, the Executive Director of LCSO’s Support Services Bureau.

          In October of 2018, Sheriff Michael Scott announced his retirement from the LCSO and
  his successor, former Undersheriff Carmine Marceno, was appointed to serve as the Sheriff of Lee
  County by then Governor Rick Scott. On November, 2020, Sheriff Marceno was elected to office
  by the citizens of Lee County. Under his leadership of the agency, Sheriff Marceno instituted
  several organizational changes to the Support Services Bureau, including with respect to the job
  duties and responsibilities delegated to each of the Bureau’s sub-divisions. These organizational
  changes have been undertaken as part of an effort to consolidate redundant positions and conserve
  budget allocations.

          In July and August of 2021, Sheriff Marceno directed a further review of LCSO’s
  operations in an ongoing effort to streamline and consolidate personnel at every level of the
  workforce for budgetary efficiency. In response to Sheriff Marceno’s directives and under the
  oversight of Undersheriff John Holloway, the LCSO examined the agency’s operations and
  identified certain civilian positions which were no longer required to accomplish the agency’s


  2
   This Position Statement (“Statement”) is intended to be Respondent’s summary response to the allegations
  raised in the above-referenced matter. This Statement is not intended to be an exhaustive treatment of any
  and all evidence that may be available to the Respondent at the time this Statement was prepared, and it
  should not be interpreted to signify that the Respondent has completed all investigations it may wish to
  pursue in this matter. Further, this Statement is not intended to raise all legal theories and/or defenses which
  the Respondent may ultimately raise in this matter. The Respondent reserves the right to alter, amend, or
  supplement this Statement if new or additional information is alleged or discovered or for other
  reasons. This Statement is provided to the Equal Employment Opportunity Commission solely for its
  investigation of the above-referenced Charge of Discrimination and with the understanding that this matter
  will remain confidential and will not be disclosed for any other purpose, except as provided for by law.



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  goals. 3 The decision to eliminate Clark’s position as the Director of Purchasing was made along
  with other necessary 2021 budgetary adjustments, including the elimination of at least seven (7)
  additional positions and the reorganization of LCSO’s former Professional Standards Bureau.
  (Composite Exhibit 4).

          In assessing the specific staffing needs of the Support Services Bureau, the LCSO sought
  to consolidate positions that were redundant, and which could be absorbed by other positions
  elsewhere in the agency. Specifically, the operational analysis identified that the Purchasing
  Director’s responsibilities could effectively be handled by the agency’s Purchasing Manager, and
  thus, the Purchasing Director’s position was recommended for elimination. (Compare Exhibit 5
  and Exhibit 6). 4

         On August 15, 2021, Annmarie Reno informed Clark of the LCSO’s decision to eliminate
  her position, pursuant to the ongoing agency-wide reduction in force mandate. 5 (Exhibit 7).
  Contrary to the assertions in her Charge, at the time she was informed that her position was being
  eliminated, Clark was invited to apply for an available open civilian position within the agency.
  Specifically, at the time Clark’s position was eliminated, the LCSO had posted an opening within
  its Communications Division and Clark was informed of this opportunity. However, Clark
  declined to apply for the Communications position and instead, elected to retire from her
  employment with the LCSO, effective September 4, 2021. (Exhibit 8).

  II.       Charging Party’s Allegations and Respondent’s Position

          In her Charge, Clark asserts she was subjected to unlawful discrimination, a hostile work
  environment, and retaliation because of her age in violation of Title VII, the ADEA, and the FCRA.
  For the reasons articulated below, Clark’s claims are meritless.




  3
    The organizational analysis also included a review of the Bureaus of the agency which employ certified
  personnel, with the consequence that several positions for certified personnel were also eliminated. The
  consolidation and reorganization of the LCSO’s certified Bureaus are not further discussed, however, since
  these consolidations did not significantly impact the organizational changes effectuated within the Support
  Services Bureau.
  4
    At the time Clark’s position was recommended for elimination, the Purchasing Manager position was held
  by Shannon Lehman (D.O.B. 02/22/1967). Lehman was initially hired by LCSO in April of 1995, and she
  continues to be employed in her role as Purchasing Manager. Clark’s age (D.O.B. 01/12/62) was not a
  factor in identifying her position for elimination.
  5
    At the time Clark was informed of the LCSO’s decision to eliminate her position, she was on leave for a
  medical procedure. Pursuant to LCSO’s common practice and unrelated to the decision to eliminate her
  position, Clark was not placed on FMLA leave, as her expected absence was not expected to exceed seven
  (7) working days. Moreover, upon designating her position for elimination, LCSO placed Clark on paid
  administratively leave, rather than requiring her to use accrued personal leave time. (See Exhibit 7).



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            a. Age Discrimination

          The ADEA makes it unlawful to discriminate on the basis of age against an employee who
  is at least 40 years old. 29 U.S.C. §§ 623(a), 631(a). When an ADEA claim is based on
  circumstantial evidence, the McDonnell Douglas burden shifting framework, as articulated above,
  applies. Liebman v. Metro. Life Ins. Co., 808 F.3d 1294, 1298 (11th Cir. 2015). In a reduction-of-
  force case, to establish a prima facie case of age discrimination, Clark must prove that: (1) she was
  within the protected age group and was adversely affected by an employment decision; (2) she was
  qualified for the current position or to assume another position at the time of the reduction in force;
  and (3) there was evidence by which a fact finder could reasonably conclude that the employer
  intended to discriminate on the basis of age in reaching the decision to eliminate the position.
  Alsobrook v. Fannin County, Georgia, 698 Fed.Appx. 1010, 1012 (11th Cir. 2017) citing Smith v.
  J. Smith Lanier & Co., 352 F.3d 1342, 1344 (11th Cir. 2003).

          Unlike Title VII, however, the ADEA’s test does not provide that a plaintiff may establish
  discrimination by showing that age was simply a motivating factor. Thus, Clark must prove beyond
  a preponderance of the evidence that her age was the “but-for” cause of the complained of
  employment action. Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 177-78, 129 S.Ct. 2343, 2351-
  52, 174 L.Ed.2d 119 (2009). In other words, Clark must show “that age was ‘the reason’ that the
  employer decided to act.” Id. at 2343. If Clark establishes a prima facie case, the burden shifts to
  LCSO to articulate a legitimate, non-discriminatory reason for the challenged employment action.
  Liebman, 808 F.3d at 1298. If LCSO proffers a legitimate, non-discriminatory reason, the burden
  shifts back to Clark to show that LCSO’s reason is pretext for discrimination. Id.

          For purposes of this Position Statement only, LCSO acknowledges that Clark, a female
  over the age of 40, is a member of a protected class. However, Clark’s claim for age-based
  discrimination fails because she cannot prove that her age was the but-for cause of the LCSO’s
  decision to eliminate her position within the agency. To the contrary, there is no evidence
  whatsoever that the LCSO’s decision to eliminate Clark’s position was premised upon her age.
  Instead, the evidence unequivocally establishes that, as part of the LCSO’s ongoing effort to
  streamline personnel responsibilities and consolidate redundant positions for budgetary reasons,
  the LCSO determined that Clark’s responsibilities could be absorbed elsewhere within the agency
  in order to more effectively distribute the agency’s resources and best service the citizens of Lee
  County, Florida.

          Even assuming arguendo that Clark could establish a prima facie case of age-based
  discrimination, her claim still fails because the LCSO has proffered a legitimate,
  nondiscriminatory reason for its decision to eliminate certain civilian-held positions within the
  agency. In undertaking its reduction-in-force efforts, the LCSO identified positions that were
  superfluous or whose responsibilities could be consolidated with those of other existing positions
  in order to effectuate desirable cost savings for the agency. The decision regarding the elimination
  of Clark’s civilian position was not arbitrary, but rather done in conjunction with the elimination
  of numerous other positions as well as the restructuring and reorganization of an entire Bureau




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  within the agency. These decisions were premised upon the LCSO’s agency-wide review and
  analysis of job responsibilities, and a determination of which positions were redundant and no
  longer essential to the agency’s operations. Accordingly, the LCSO has satisfied its burden of
  producing a legitimate nondiscriminatory reason for its action. See Meeks v. Computer Assoc.
  Int’l., 15 F.3d 1013 (11th Cir. 1994) (stating an employer’s burden of producing a legitimate
  nondiscriminatory explanation for its employment action is “exceedingly light”).

          To overcome the LCSO’s proffered reason, Clark must show that the proffered reason is
  merely pretext for unlawful discrimination, meeting the reason “head on and rebutting it.” Clark
  cannot succeed simply by quarreling with the wisdom of the LCSO’s proffered reason. Carter v.
  Diamondback Golf Club, Inc., 229 F.3d 1012 (11th Cir. 2000). Here, Clark asserts that the LCSO
  failed to afford her an opportunity to transfer to another area or position. However, this assertion
  is plainly false, as the evidence demonstrates that Clark was invited to apply for any other open
  civilian position, including specifically a Communications Call Taker, at the time she was notified
  that her current position was being eliminated. It was by her own volition that Clark declined to
  apply for this open position. Accordingly, Clark’s attempt to rebut the LCSO’s legitimate,
  nondiscriminatory reason is insufficient, and her claim for age-based discrimination must fail.

            b. Hostile Work Environment

          To prove a claim for hostile work environment, Clark must prove that the “workplace is
  permeated with discriminatory intimidation, ridicule, and insult, that is sufficiently severe or
  pervasive to alter the conditions of the victim’s employment and create an abusive working
  environment.” Enwonwu v. Fulton-Dekalb Hosp. Auth., 286 F. App’x 586, 602 (11th Cir. 2008)
  (citing Harris v. Forklift Sys., 510 U.S. 17, 21 (1993)). More specifically, in order to establish a
  hostile work environment claim, Clark must show: (1) that she belongs to a protected group; (2)
  that she has been subject to unwelcome harassment; (3) that the harassment complained of is based
  on a protected characteristic; (4) that the harassment was sufficiently severe or pervasive to alter
  the terms and conditions of employment and create a discriminatorily abusive working
  environment; and (5) that the employer is responsible for such environment under either a theory
  of vicarious or of direct liability. Thomas v. Seminole Electric Coop., Inc., 385 F. Supp. 3d 1246,
  1259 (M.D. Fla. 2018).

          Aside from her age, Clark has not presented evidence to establish any of these elements. It
  is not even clear who Clark alleges subjected her to the allegedly hostile work environment or
  what conduct she alleges created a hostile work environment. By all accounts, the evidence
  demonstrates that once the decision was made to eliminate Clark’s position, she was promptly
  notified and afforded an opportunity to apply for other open positions within the agency. By her
  own accord and presumably for valid reasons related to her accrued benefits and retirement
  options, Clark elected not to do so and instead, chose to take an early retirement. Accordingly,
  because Clark’s Charge is devoid of any evidence to establish a hostile work environment, her
  claim must be dismissed.




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            c. Retaliation

           The ADEA and Title VII have similar prohibitions against retaliation; thus, retaliation
  claims under the ADEA and Title VII are assessed under the same framework. Trask v. Sec’y,
  Dep’t of Veterans Affairs, 822 F.3d 1179, 1193–94 (11th Cir. 2016). Additionally, “Florida courts
  follow federal case law when examining FCRA retaliation claims.” Olson v. Dex Imaging, Inc., 63
  F. Supp. 3d 1353, 1362 (M.D. Fla. 2014). As such, Clark’s allegations that she was subjected to
  retaliation in violation of the ADEA, Title VII, and the FCRA are analyzed under the same
  framework.

          Under these statutes, an employer may not retaliate against an employee because the
  employee has opposed an unlawful employment practice (the opposition clause) or because the
  employee made a charge, testified, assisted, or participated in an investigation, proceeding, or
  hearing (the participation clause). See EEOC v. Total Sys. Servs., Inc., 221 F.3d 1171, 1174 (11th
  Cir. 2000) (citing 42 U.S.C. § 2000e-3(a)); see also Trask, 822 F.3d at 1193–94 (citing 29 U.S.C.
  § 623(d)). Retaliation claims are assessed using the McDonnell Douglas burden shifting
  framework. See Crawford v. Carroll, 529 F.3d 961, 976 (11th Cir. 2008). Thus, to establish a
  prima facie case of retaliation, Clark must show (1) she engaged in a protected activity; (2) she
  suffered an adverse employment action; and (3) there was a causal connection between the
  protected activity and the adverse employment action. Crawford, 529 F.3d at 970.

           Here, Clark’s Charge does not identify how she allegedly engaged in any protected activity,
  nor that there was any causal connection between any asserted protected activity and Clark’s job
  elimination. Therefore, based upon her Charge, Clark has not identified a prima facie showing for
  retaliation under Title VII, the ADEA or the FCRA. Accordingly, Clark’s claim for retaliation
  similarly fails.

  III.      Conclusion

          We trust that the foregoing provides sufficient information for the Commission to complete
  its investigation of this matter. Based on the foregoing Position Statement, along with the enclosed
  documentation, Respondent submits that Charging Party’s allegations are unfounded and
  unsupported by evidence. Accordingly, Respondent respectfully requests that the Commission
  issue a “No Cause” determination in its favor.




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         If you have any questions regarding this Position Statement or should you have any further
  information to complete your investigation of this administrative complaint, please feel free to
  contact me at (813) 251-1210 or via email at dstefany@anblaw.com.

                                                Sincerely,

                                                s/ David J. Stefany

                                                David J. Stefany
                                                Maelyn M. Morrison

  DJS/MMM/ldp
  Enclosure(s) (as stated above)




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